
The decision of the Court below was affirmed by the Supreme Court in the following opinion delivered on November 30, 1876:
Per Curiam.
The striking off the entry new trial refused was merely the correction of a mistake. It was not a re-judgment of the case after the lapse of a term, but merely the correction of a mistake made in the entry of the determination of the Court. Although after a judgment in a case the Court may not at any lapse of time revise its judgment and reach a different conclusion, it has it in its power to correct its own actual mistakes in the entry or the misprisions of its clerks, unless, perhaps, when rights have been acquired under the entry, which may be injuriously affected against equity. IIow far a Court may thus go, we do not undertake to indicate in what we have said, except so far as the facts of this case justify.
Order affirmed.
